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IN TI-IE UNITED STATES DISTRICT COUR'I`

 

FOR THE wESTERN DISTRICT OF TENNESSEE nw BY~-' ------M
wESTERN DIvISION
USAU629 AH 6= 142
MGOULD
UNITED sTATES OF AMERICA a-B¥k)%§ H§STMR§}THMCUBT

Plaintiff,

Criminal No. 02 -MMl

(30-Day Continuance)

,-/¢

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by' the signatures below, the United. States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Sentember 23. 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26ch day of August, 2005.

This document entered on the docket gem fn comp|i nce
with Ru|e 35 and/or 32(b) FRCrP on '0 cja

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30 ORDERED this 26th day cf August, 2005.

P WC&Q¢.

JO PHIPPS MCCALLA
'I`ED S'I`ATES DISTRICT JUDGE

q__,CW\/;/¢M

Assistant United States Attorney

,%;,,..,//XS/Z;

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COUR - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20482 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

